                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                            NORTHERN DISTRICT OF IOWA


IN RE:                                           Chapter 11
                                                 Case No. 18-01297
VEROBLUE FARMS USA, INC., et al.,

                  DEBTORS.




VEROBLUE FARMS USA, INC., et al.,
                                                           Adversary No. 19-09015
                 PLAINTIFFS
                                                  MOTION TO AMEND COMPLAINT TO
                       vs.                            RECOVER FRAUDULENT
                                                          CONVEYANCE
CASSELS BROCK & BLACKWELL LLP

                DEFENDANTS.



   Plaintiffs, VeroBlue Farms USA, Inc, et al, (“VBF”) by and through their undersigned
counsel, and pursuant to Fed. R. Civ. P. (“FRCP”) 15, applicable to this adversary proceeding by
Fed. R. Bankr. P. (“FRBP”) 7015, hereby seek leave to amend their Complaint to Recover
Fraudulent Conveyance in the above-captioned adversary proceeding, and in support of this
Motion, respectfully state:

   1. Plaintiffs filed their initial complaint in this adversary proceeding on March 27, 2019.
Defendant, Cassels, filed an answer on July 15, 2019 and amended their answer on August 16,
2019.
   2. Amendments to pleadings are to be liberally granted “when justice so requires.” FRCP
15(a). According to the Supreme Court of the United States:
         In the absence of any apparent or declared reason—such as undue delay, bad faith or
         dilatory motive on the part of the movant, repeated failure to cure deficiencies by
         amendments previously allowed, undue prejudice to the opposing party by virtue of
          allowance of the amendment, futility of amendment, etc.—the leave sought should, as the
          rules require, be ‘freely given.’

Foman v. Davis, 371 U.S. 178, 182 (1962).

    3. A copy of the proposed Amended Complaint is attached hereto as EXHIBIT A, and by
this reference incorporated herein.
    4. It is in the interest of justice to allow this amendment and Plaintiffs are not bringing this
motion for an improper purpose. Rather, as in Forman, Plaintiffs seek to state an alternative
theory for recovery and ought to be granted the opportunity to test their claim on the merits. Id.
         5.      The Alternative pleading Plaintiffs seek to assert arises from Defendant’s asserted
defense.
    6. Pleadings close on September 30, 2019. Therefore, the proposed Amendment is timely
filed.
    7. This case is still in the discovery phase and the allowance of this motion will not
prejudice the Defendants. Discovery may be extended without prejudice to any party.


WHEREFORE, the Plaintiffs, VBF, respectfully request that the Court grant their leave to amend
their Complaint and enter an Order deeming the attached Amended Complaint filed as of the
date of the filing of this Motion, and for such further relief as may be just and proper under the
circumstances.



                                                      Respectfully submitted,

                                                      VEROBLUE FARMS USA, INC


                                                      /s/ Robert H. Lang
                                                      One of its Attorneys

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                                CERTIFICATE OF SERVICE


The undersigned hereby certifies under penalty of perjury that a copy of this document was
served upon, mailed, or delivered to counsel of record, debtor and other parties of interest listed
below via the Court’s electronic noticing system or via first class mail in compliance with
Bankruptcy Rules 7004 and 9014 on the _____ day of September, 2019.


                                             Signed: ____________________________
                                                     An Employee of
                                                     Elderkin & Pirnie, P.L.C.




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